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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION
Debra Griesenauer,                            )
                                              )
               Plaintiff,                     )
                                              )       Civil Action No.: 4:14-cv-1391
v.                                            )
                                              )
Millsap and Singer, P.C.                      )
                                              )
               Defendants.                    )


                   MILLSAP & SINGER, P.C.’S MOTION TO DISMISS
                      PLAINTIFF’S FIRST AMENDED PETITION

         COMES NOW, Defendant Millsap and Singer, P.C. (Millsap) through its counsel of

record, Charles S. Pullium, III, and moves that this Court dismiss the Plaintiff’s First Amended

Petition with prejudice. In support of this Motion, the Defendant states the following:


         1.    The Plaintiff has filed a two count Petition alleging violations of 15 U.S.C. §

1692b of the Fair Debt Collections Practices Act. (FDCPA or Act) and a second count for

Invasion of Privacy by Intrusion upon Seclusion and by Revelation of Private Financial Facts to

Third Party.

         2.    The Plaintiff fails to state any cause of action against the Defendant as set out in

the Defendant’s attached Memorandum of Law. The Plaintiff’s Petition should therefore be

dismissed in accordance with Fed. R. Civ. P. 12(b)(6).

         3.    Count I of the Plaintiff’s Complaint alleges that Millsap violated the Fair Debt

Collection Practices Act by communicating with a third party, namely her ex-husband. Plaintiff

alleges that a Notice of Sale addressed to the ex-husband and sent to the Property, at which

Plaintiff was the exclusive occupant, constituted an attempt to collect a debt.


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       4.        With one exception discussed in the attached Memorandum of Law, Millsap is

not a debt collector as defined by the Act and therefore the Act does not apply. See Pettit v.

Retrieval Masters Creditors Bureau, Inc., 211 F.3d 1057 (7th Cir. 2000). The key is that debt

collection must be the principal purpose of the business. Collecting a debt in the course of doing

business does not qualify. Schlegel v. Wells Fargo Bank, NA, 720 F.3d 1204 (9th Cir. 2013).

       5.        Further, this district has already ruled earlier this year that a trustee acting to

foreclose on a deed of trust is not acting to collect a debt, such that the FDCPA is inapplicable.

Dillon v. Chase Home Fin., LLC, 2104 U.S. Dist. LEXIS 14566, 2014 WL 466212 (E.D. Mo.

Feb. 4, 2014).

       6.        Plaintiff attempts to circumvent the fact that Millsap is not a debt collector in this

instance by pointing to Millsap & Singer, LLC’s representation of Plaintiff’s lender in the

Plaintiff’s various foreclosure proceedings to file a proof of claim on behalf of the lender. In that

capacity, Millsap was not seeking to collect a debt, but was acting as an attorney, to prove up its

client’s claims pursuant to the relevant bankruptcy laws. However, the acts complained of by

Plaintiff all arise out of Millsap’s actions as successor trustee under Plaintiff’s Deed of Trust. As

such, Millsap’s actions were taken in the enforcement of a security instrument, and not to collect

a debt. Furthermore, Plaintiff’s allegations regarding the filing of proof of claims relate to

actions taken by Millsap & Singer, LLC, and not the successor trustee, Millsap & Singer, P.C.

which is the Defendant herein. Neither are the bankruptcy filings cited by Plaintiff relevant or

material in that they are conclusory allegations and relate to entirely unrelated borrowers and

matters.

       7.        Even if Millsap were a debt collector under the Act, the Plaintiff has not pleaded

facts sufficient to show that Millsap was actively trying to collect a debt. See Neff v. Capital



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Acquisitions & Management Co., 352 F.3d 1118 (7th Cir. 2003). The FDCPA required notice on

its letter notwithstanding. Gburek v. Litton Loan Servicing LP, 614 F.3d 380, fn3. (7th Cir.

2010). Citing, Lewis v. ACB Bus. Servs., Inc., 135 F.3d 389, 400 (6th Cir.1998). (The mere fact

that a creditor’s communication states that it, “is an attempt to collect a debt” as required by the

FDCPA, does not transform the letter into an unlawful demand for payment.)

       8.      Within the FDCPA, there is an exemption from the definition of “debt collector”

for officers and employees of the creditor. 38 Mo. Prac., Missouri Foreclosure Manual § 2:4

(2014). Because a trustee acts as a fiduciary to both the debtor and creditor, Hanson v. Neal, 215

Mo. 256, 114 S.W. 1073 (1908); see also 38 Mo. Prac., Missouri Foreclosure Manual §§ 2:3,

4:10 n.14, and 4:30 (2014), he is exempted from the Act.

       9.      The Notice of Sale that forms the basis for the Plaintiff’s Complaint contains

publicly available information and is required by law.

       10.     As the notices that were sent are required to be sent by law, and contain

information that is publically available. The Notice of Sale of which Plaintiff complains fails to

plead or prove a cause of action for invasion of privacy.

       11.     Likewise, Plaintiff fails to plead and prove any receipt by her ex-husband of the

notice of foreclosure sale. Rather, her First Amended Complaint proves the contrary in that the

letter, attached to the Amended Petition as an exhibit, is addressed to the property address at

which address Plaintiff admits she was the occupant, “separate from her ex-husband.” See First

Amended Petition at ¶ 26 and said Petition’s Exhibit 1.

       12.     Further, Plaintiff previously filed for bankruptcy relief. In that proceeding a

Motion for Relief of Stay was filed, to which Motion the Plaintiff consented. This Motion for

Relief set out Plaintiff’s default, to which Plaintiff admitted, including the amount of default, by



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her consent to said Motion. Said bankruptcy pleadings, being part of the public record, where

thereby publically disclosed to the world by Plaintiff’s own actions.

       13.     As pointed out in Defendant’s Memorandum of Law in Support of Defendant’s

Motion to Dismiss, Plaintiff’s application of the FDCPA is unconstitutional as it would

constitute a violation of the 10th Amendment of the United States Constitution.

       14.     The Defendant files contemporaneously with this Motion and incorporates herein

by reference its Memorandum of Law in Support of this Motion To Dismiss.

       WHEREFORE Defendant Millsap & Singer, P.C. prays this Court enter an Order

dismissing the Plaintiff’s Petition with prejudice, and award Millsap its costs incurred herein,

including reasonable attorney’s fees, and for such other relief as this Court deems proper.



                                                     MILLSAP & SINGER, LLC


                                                     By: /s/ Charles. S, Pullium, III______
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                                                     Attorney for Millsap & Singer, P.C.


                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies on the 9th day of October, 2014 a true and correct copy
of the foregoing was served via the Court’s CM/ECF system, which sent notification to all
parties, entitled to service.

                                                     /s/ Charles. S, Pullium, III______




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